Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 1 of 16 PagelD #: 6

EXHIBIT A

Love v. Dolgencorp, LLC d/b/a Dollar General

Chronological Case Summary, Pleadings, and Process

Marion Superior Court Case No. 49D11-1903-CT-012556
Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 2 of 16 PagelD #: 7

5/6/2019 Summary - MyCase

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i from the court maintaining a particular record.

 

Khriston Love v. DOLGENCORP, LLC d/b/a DOLLAR GENERAL

 

 

 

 

 

 

 

 

 

Case Number 49D1 1-1903-CT-012556
Court ‘Marion Superior Court, Civil Division 11
Type CT- Civil Tort
Filed 03/28/2019
Status 03/28/2019 , Pending (active)
Parties to the Case
Defendant DOLGENCORP, LLC d/b/a DOLLAR GENERAL
Address
135 N. Pennsylvania Street
Suite 1610
Indianapoilis, IN 46204
Attorney ,

Lyndsay Heana [gnasiak
#3069045, Lead. Retained

Reminger Co,, LPA

College Park Plaza

8909 Purdue Rd, Suite 200 ©
indianapolis, IN 46268.
317-853-7372(W)

Attorney

Katherine Marie Haire
#3133049, Retained

200 West Washington Street
Room 411 State House
indianapolis, IN 46204

- 260-609-3133(W)

 

 

 

Plaintiff Love, Khriston
Address

1344 Panama Ave
Indianapolis, IN 46244

’ Attorney
John F. Townsend Hil
#1960049, Retained

TOWNSEND & TOWNSEND, LLP
Market Square Center, Ste 770
151 N Delaware St
Indianapolis, IN 46204

317-264.4444(W)

Chronological Case Summary
03/28/2019 Case Opened as a New Filing

 

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 3 of 16 PagelD #: 8
' Byereot1g , ~ Summary - MyCase

03/28/2019 Compiaint/Equivalent Pleading Filed
Complaint for Damages ,
Filed By: Love, Khriston
File Stamp: 03/28/2019

03/28/2019 Subpoena/Summons Filed

Summons
Filed By: Love, Khriston
File Stamp: 03/28/2049

 

03/28/2019 Appearance Filed

. Appearance
For Party: Love, Khriston
File Stamp: , "03/28/2019

 

04/08/2019 Certificate of Issuance of Summons
Certificate of issuance of Summons

Filed By: "Love, Khriston
File Stamp: 04/08/2019

04/11/2019 Service Returned Served (E-Filing)
Notice of Receipt of Summons

Filed By: Love, Khristan
File Stamp: 04/11/2019

 

04/26/2019 Appearance Filed
Appearance by Attorneys in Civil Case

For Party: DOLGENCORP, LLC d/b/a DOLLAR GENERAL
File Stamp: 04/26/2019

 

04/26/2019 Motion for Enlargement of Time Filed
Automatic Motion for Enlargement of Time by Defendant, Dolgencorp, LLC d/b/a Dollar General |

Filed By: DOLGENCORP, LLC d/b/a DOLLAR GENERAL
File Stamp: 04/26/2079

Financial Information .
* Financial Balances reflected are current representations of transactions processed by the Clerk's Office, Please note that any balance

due does not reflect interest that has accrued - if applicable — since the jast payment. For questions/concerns regarding balances
shown, please contact the Clerk's Office,

Love, Khriston

Plaintiff

Balance Due (as of 05/06/2019)
0.00

Charge Summary .
Description , Amount Credit Payment
Court Costs and Filing Fees 157.00 0.00 157,00

 

 

 

 

 

 

 

 

Transaction Summary

 

 

 

 

 

 

 

 

Date Description Amount

03/28/2019 Transaction Assessment . 157.00

03/28/2019 Electronic Payment : (157.00) 7
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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 4 of 16 PagelD #: 9

5/6/2019 Summary - MyCase

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from the court maintaining a particular record.

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 5 of 16 PagelD #: 10

 

49D11-1903-CT-012556 : Fle: 2872018 1118 AM
Mayion Superior Court, Civil Division 11 ‘ Marion County, Indiana
STATE OF INDIANA -) _ IN THE MARION COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MARION} CAUSE NO.
-KHRISTON LOVE, )
)
Plaintiff, )
)-
vs. )
a)
DOLGENCORP, LLC d/b/a )
DOLLAR GENERAL, )
)
Defendant. )
COMPLAINT FOR DAMAGES

Comes now the Plaintiff, by counsel, and for her cause of action against the Defendant,
alleges:

1. At all times hereinafter mentioned Defendant owned, operated and maintained a
Dollar General store located at 6655 W. Washington Street in Marion County, Indiana.

2, On or about January 27, 2018 Plaintiff was an invitee on Defendant’s premises
when she slipped and fell due to an accumulation of liquid on the floor of the premises.

3. At said time and place the Defendant was negligent.

4, AS a proximate result of the Defendant’s negligence Plaintiff has been injured and
damaged, incurted reasonable medical expenses and endured pain, suffering and mental anguish.

WHEREFORE, Plaintiff prays for judgment against the Defendant in an amount which
will fully and fairly compensate her for injuries and damages, for her costs and for all other

proper relief.

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 6 of 16 PagelID #: 11

Respectfully submitted,

TOWNSEND & TOWNSEND, LLP

‘s/ John F. Townsend, HI

Jobn F. Townsend, II - #19600-49
Market Square Center

151 North Delaware Street, Suite 770
Indianapolis, Indiana 46204
317-264-4444 Phone

317-264-2080 Fax:
Townsendlawfirm@aol.com

Counsel for Plaintiff

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 7 of 16 PagelID #: 12

49D11-1903-CT-012556 Filed: 3/28/2019 v8 at

 

Marion Superior Court, Civil Division 11 Marlon County, Indiana
STATE OFINDIANA __+) IN THE MARION COUNTY SUPERIOR COURT
)SS: CIVIL DIVISION
COUNTY OF MARION ) , CAUSE NO.
KHRISTON LOVE, )
. )
Plaintifé, }
)
vs. }
)
DOLGENCORP, LLC d/b/a )
DOLLAR GENERAL, )
)
Defendant. )
SUMMONS

TO DEFENDANT: Doigencorp, LLC
d/b/a Dollar General
c/o Registered Agent, Corporation Service Company
- 135 .N, Pennsylvania St., Suite 1610
Indianapolis, IN 46204

You are hereby notified that you have been sued by the person named as plaintiff and in the Court indicated
above.
The nature of the suit against you is stated if the Complaint which is attached to this Summons. It also
states the relief sought or the deruand made against you by the plaintiff.
. An answer or other appropriate response in writing to the complaint must be filed either by you or your
attomey within twenty (20) days, commencing the date after you receive this Summons, (or twenty-three (23) days if
_this Summons was'received by mail), or a judgment by default may be rendered agamst you for the relief demanded
by plaintiff.
if you have a claim for relief against the plaintiff from the same transaction or ocoulrence, you must assert
it in your written answer.

Dated 3/28/2019 ‘PP la A. Chbistg a (Seal)
Clerk, Marion County Superior Court

 

 

{The following manner of service of summons is hereby designated.)

Registered or certified mail.

Service at place of employment, to-wit:
Service on individual C (Personal or copy) at above address.
Service on agent. (Specify)
Other service. (Specify) _

 

 

il] dP

John F. Townsend, IT

151 North Delaware Street, Suite 770
Indianapolis, IN 46204

(317) 264-4444

Attorney for Plaintiff —

 

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 8 of 16 PagelD #: 13

49D11-1903-CT-012556 Filed: 3/28/2019 11:18 AM

 

 

 

 

 

 

 

 

 

Clerk
Marton Superior Court, Civil Division 11 Marion County, Indiana
STATE OF INDIANA ) IN THE MARION COUNTY SUPERIOR COURT
) SS: CIVIL DIVISION
COUNTY OF MARION } CAUSE NO. -
KHRISTON LOVE, )
)
Plaintiff, )
)
vs. )
)
DOLGENCORP, LLC d/b/a )
DOLLAR GENERAL, )
)
Defendant, )
APPEARANCE |
Initiating party
1, Khriston Love 2,
Name of first initiating party Telephone of pro se initiating party
3. Attorney information {as applicable for service of process):
Name: John F. Townsend, I Atty#:  19600-49
Address: TOWNSEND & TOWNSEND, LLP Phone: (317) 264.4444
-151 N. Delaware Street, Suite 770 Fax: (317) 264-2080
Indianapolis, IN 46204 Email: townsendlawfirm@aolLcom

 

 

(Supply names of additional attorneys on cantinuation page.)

4. Case Type requested: CT 5. Will accept FAX service: Yes__ No X_

[See Administrative Rule 8(6)(3)] ‘
6. Social Security numbers of all family members in proceedings involving support issues.
7. Are there related cases? Yes_ No_X__ If yes, list case number below:

8. Additional information required by state or local rule:

 

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 9 of 16 PagelD #: 14

"Filed: 4/8/2049 2:29 PM
Cierk
Marion County, indiana

STATE OF INDIANA .._-j IN THE MARION COUNTY SUPERIOR COURT
) 88: CIVIL DIVISION
COUNTY OF MARION +) CAUSE NO. 49D10-1903-CT-012585
DAZMEN DAVIS, )
)
Plaintiff, }
):
Vs. }
.)
ISAAC MASSEY, )
5
Defendant. )

CERTIFICATE OF ISSUANCE OF SUMMONS
Pursuant to Indiana Trial Rule 86(G)(2)(c ), I hereby affirm that I have imitiated services
of the following documents on the following party as indicated below:

Documents: Appearance, Complaint for Damages, Summons, Plaintiff's Interrogatories to 7
Defendant, Plaintiff's Request for Production of Documents to Defendant

Party Served: Isaac Massey

671 Van Ave.

Shelbyville, IN 46176
Service Method: Certified Mail, Return Receipt Requested
Tracking Number: 9414 7118 0659 9235 83

Dated Mailed: April 5, 2019
TOWNSEND & TOWNSEND, LLP

John F. Townsend, II - #19600-49
Counsel for Plaintiff

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 10 of 16 PagelD #: 15

Filed: 4/11/2019 11:30 AM |
Clerk
Marion County, Indiana

STATE OF INDIANA ) IN THE MARION COUNTY SUPERIOR COURT
ySS:
COUNTY OF MARION.) - CAUSE NO,: 49D11-1903-CT-012556
KHRISTON LOVE,
Plaintiff
vs.

DOLGENCORP, LLC d/b/a
DOLLAR GENERAL,

)
)
)
)
)
)
) .
)
)
Defendant. )
NOTICE OF RECEIPT OF SUMMONS
Pursuant to Jndiana Trial Rule 86(G)2)c ), Lhereby affirm that I have initiated services |
of the following documents on the following party as indicated below:
Documents: Summons, Complaint for Damages, and Appearance.
Party Served: Dolgencorp, LLC, d/b/a Dollar General —
Registered Agent: Corporation Service Company
135 N, Pennsylvania Street, Suite 1610
Indianapolis, IN 46204
Service Method: Certified Mail, Return Receipt Requested

_ Tracking Number: 9414 7118 0659 9241 79
Dated Mailed: April 5, 2019

Date Received: April 8", 2019
9490 9118 9956 0659 9243 19

TOWNSEND & TOWNSEND, LLP

Is/ John FE, Townsend, TT
John F. Townsend, III - #19600-49

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 11 of 16 PagelD #: 16

   

    

COMPLETE THIS. SECTION ON DELIVERY ¢
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(EYES, enter delivery address below: Ono
Regliscered Agent, Corporation Serviceo, .

Dolgencorp, LL> d/b/a Dollar General
135 N. Pennsylvania St. Suite 1610
Indianapolis iN 46204-2448 |

 

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Case 1:19-cv-01832-JPH-MJD

STATE OF INDIANA |
COUNTY OF MARION
KHRISTON LOVE,
Plaintiff,
¥S.

DOLGENCORP, LLC d/b/a
DOLLAR GENERAL,

Defendant,

Document 1-1 Filed 05/06/19 Page 12 of 16 PagelD #: 17

Filed: 4/26/2019 3:03 PM
Clerk
Marion County, Indiana

) INTHE MARION COUNTY SUPERIOR COURT
) CIVIL DIVISION
}° CAUSE NO, 49D11-1903-CT-012556

CASE NO. 49D11-1903-CT-012556

APPEARANCE BY ATTORNEYS IN CIVIL CASE

1. The party on whose behalf this form is being filed is: _

Initiating

Responding -X Intervening ; and

the undersigned attorney and all attorneys listed on this form now appear in this case for

the following parties:

Name of party:

DOLGENCORP, LLC d/b/a DOLLAR GENERAL

2. Attorney information for service as required by Trial Rule 5(B)(2):

 

Name: Lyndsay Ignasiak Atty. Number: __30690-45
Name: Katherine M. Haire | Atty. Number: 31330-49

Address: Reminger Co.. LPA, College Park Plaza, 8909 Purdue Road

Suite 200, Indianapolis, Indiana 46268

 

Phone: 317-663-8570 = Fax:._ 317-228-0943
E-mail Address: lignasiak@reminger.com: khaire@reminger.com

 

3. This is a CT

case type as defined in administrative Rule 8(B)(3}.

4. I will accept service by:
Fax at the above noted number: Yes No xX
Email at the above noted address: Yes No x

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 13 of 16 PagelD #: 18

5, This case involves child support issues. Yes No__ X (ff Yes,
supply social security numbers for all family members on a separately attached document
filed as confidential information on light green paper. Use Form TCM-TR3. 1-4.)

6. This case involves a protection from abuse order, a workplace violence restraining order,
or ano contact order. Yes No__X__ (if Yes, the initiating party must
provide an address for the purpose of legal service but that address should not be one that
exposes the whereabouts of a petitioner.) The party shall use the following address for
purposes of legal service: N/A

7. This case involves a petition for. involuntary commitment. Yes No_X

 

8. If Yes above, provide the following tegarding the individual subject to the petition for

 

 

 

involuntary commitment. N/A
9, Thete are related cases: Yes | No _X_ Na Yes, list on continuation page.)
10. Additional information required by local role: None
11. There are other party members: Yes__ No _xX_ (f Yes, list on continuance
page.) ; ;
12, This form has been served on all other patties and Certificate of Service is attached: Yes
Xx No
Respectfully submitted,
/s/ Katherine M. Haire

 

Lyndsay I. Ignasiak (30690-45)
Katherine M. Haire (31330-49)
REMINGER CO.,LPA
College Park Plaza
8909 Purdue Road
Suite 200 ‘
Indianapolis, IN 46268
T: 317-663-8570.

317-228-0943 .
lignasiak(@reminger,com: khai inger.com
Attorney for Defendant DOLGENCORP, LLC
d/b/a DOLLAR GENERAL

    

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 14 of 16 PagelD #: 19

CERTIFICATE OF SERVICE

I certify that the foregoing document has been filed in accordance with Trial Rule 86
using the Court’s Electronic Filing System, which will’send notice on this _ 26 day of April,
2019 to all registered parties.

/s/ Katherine M. Haire
Katherine M, Haire (31330-49)
REMINGER CO., LPA

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Case 1:19-cv-01832-JPH-MJD

Document 1-1 Filed 05/06/19 Page 15 of 16 PagelD #: 20

Filed: 4/26/2019 3:03 PM

Clerk

Marion County, Indiana

STATE OF INDIANA ) INTHE MARION COUNTY SUPERIOR COURT
| | )' CIVIL DIVISION :
COUNTY OF MARION } CAUSE NO. 49D11-1903-CT-012556
-KHRISTON LOVE, ) |
)
Plaintiff )
)
Vs. )
) CASE NO. 49D11-1903-CT-012556
DOLGENCORP, LLC d/b/a )
DOLLAR GENERAL, - )
)
Defendant. )-

DEFENDANT’S NOTICE OF AUTOMATIC EXTENSION OF TIME TO ANSWER OR
OTHERWISE RESPOND TO PLAINTIEE’S COMPLAINT

Defendant, Dolgencorp, LLC d/b/a Dollar General, (“Defendant”) pursuant to Rule 6B)
of the Indiana Rules of Trial Procedure, files its Motion for Enlargement of Time in which to
answer, move or otherwise respond to the Plaintiff's Complaint for Damages. In support thereof,
Defendant states:

1. The Plaintiff's Complaint for Damages was filed herein on n March 28, 2019 and
served upon the Defendants on or about April 8, 2019.

2. A responsive pleading is due on or about May 1, 2019.

3. Pursuant to LR49-TR5-203(D), Defendant now seeks an automatic enlargement of
time of thirty (30) days within which. to respond to Plaintiff's Complaint, on or before May 31;
2019,

4. This motion is timely brought before the expitation of the original responsive
deadline.

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Case 1:19-cv-01832-JPH-MJD Document 1-1 Filed 05/06/19 Page 16 of 16 PagelD #: 21

WHEREFORE, the Defendant, by counsel, hereby notifies the Court of its intent to utilize
the automatic enlargement of time contemplated by Marion County’s local trial rules, such that
Defendant’s responsive pleading is now due no later than May 31, 2018.

Respectfully submitted,

{sf Katherine M. Haire
Lyndsay L Ignasiak (30690-45)
Katherine M. Haire (31330-49)
REMINGER CO, LPA
College Park Plaza
8909 Purdue Road
Suite 200
Indianapolis, IN 46268
T: 317-663-8570
FB: 317-228-0943 .
ti asialé¢ | i : f titer.
Attorney for Defendant DOLGENCORP, ELC
d/b/a DOLLAR GENERAL

  

CER' CATE OF SERVICE

I certify that the foregoing document has been filed in accordance with Trial Rule 86
using the Court’s Electronic Filing System, which will send notice on this - - 26" day of April,
2019 to all registered parties.

/s/ Katherine M. Haire .
Katherine M. Haire (31330-49)
REMINGER CO., LPA

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